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 7   REGINALD JONES
 8
 9
                            UNITED STATES OF DISTRICT COURT
10
                             EASTERN DISTRICT OF CALIFORNIA
11
12
     UNITED STATES OF AMERICA,
13                                                     Case No.: 2:23-CR-00150-DJC
14                   Plaintiff,
                                                       STIPULATION AND ORDER RE:
15                                                     TEMPORARY RELEASE TO
16   REGINALD JONES,                                   ATTEND DEFENDANT’S SON’S
                                                       FUNERAL
17                  Defendant.
18
19                                          STIPULATION

20          Sometime during the week of May 7, 2024, the 6-month-old son defendant Reginald Jones
21   shares with his co-defendant Felicia Shaw tragically died. Reginald Jones’s father, Marcus Jones
22   (a retired firefighter), has shared with David Fischer that the cause of death is unknown, but due
23   to the baby’s age and the circumstances of his death, it is believed the cause of death may be
24   Sudden Infant Death Syndrome (SIDS). David Fischer has confirmed with the funeral director that
25   the funeral is scheduled for May 24, 2024, at noon with burial immediately following at East Lawn
26   Memorial Park, located at 4300 Folsom Blvd., Sacramento, CA 95819. Defendant Reginald
27   Jones is requesting to be temporarily released from custody on May 24, 2024, to attend his
28   son’s funeral and to return to custody the same day. He agrees to be under the custody of



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 1   his father, Marcus Jones, for the entire day. He further agrees not to discuss his case with
 2   his significant other/co-defendant, Felicia Shaw, and he agrees to have no contact with one
 3   of his other out-of-custody co-defendants, Jazzmine Campbell.
 4          Mr. Regniald Jones is in custody at the Wayne Brown Correctional Center in
 5   Nevada City, California. The request is that he be temporarily released on May 24, 2024,
 6   sometime between 7 a.m. and 8 a.m., to the custody of his father, Marcus Jones, and to
 7   return to the Wayne Brown Correctional Facility no later than 8 p.m. the same day, May
 8   24, 2024. He would travel between Nevada County and Sacramento County for the purpose
 9   of attending the funeral.
10          It is hereby stipulated and agreed between plaintiff, United States of America, and
11   defendant, Reginald Jones, through their attorneys, that Mr. Jones may be temporarily
12   released from custody as set forth below to attend his son’s funeral on May 24, 2024.
13          The parties agree that: (1) that the Court may order Mr. Jones temporarily released
14   sometime between 7 a.m. and 8 a.m. on May 24, 2024, with instructions that he return to
15   the Wayne Brown Correctional Center by 8:00 p.m. the same day; (2) that he remain under
16   the custody of his father, Marcus Jones, for the entire day; and (3) that he not discuss his
17   case with Felicia Shaw, and have no contact with Jazzmine Campbell. The parties request
18   the Court to direct the US Marshal Service to coordinate Mr. Jones’s release and surrender
19   with the jail as they see fit, within the time frame permitted above. Mr. Jones has signed
20   the attached Notice to Defendant Being Released (modified to fit the conditions of this
21   temporary release) which defense counsel will submit to the Courtroom Deputy for filing
22   before May 24, 2024.
23
24                                             Respectfully submitted,
25
     Date: May 17, 2024                        /S/ David D. Fischer
26
                                               DAVID D. FISCHER
27                                             Attorney for Defendant
                                               REGINALD JONES
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 1   Date: May 17, 2024                         PHILLIP A. TALBERT
                                                Unites States Attorney
 2
                                                /s/ Ross Pearson
 3                                              ROSS PEARSON
                                                Assistant United States Attorney
 4
 5                                            ORDER
 6          Reginald Jones is ordered temporarily released from custody sometime between 7
 7   a.m. and 8 a.m. on May 24, 2024, to Marcus Jones, and (1) Reginald Jones is further
 8   ordered to surrender himself to the Wayne Brown Correctional Center by 8:00 p.m. that
 9   day, (2) that he is ordered to remain under the custody of his father, Marcus Jones, the
10   entire day, and (3) he is ordered not to discuss his case with his co-defendant, Felicia Shaw,
11   and not to have contact with Jazzmine Campbell. The U.S. Marshal Service is directed to
12   make necessary arrangements with the Wayne Brown Correctional Center for Mr. Jones’s
13   release and surrender. Mr. Jones is ordered to sign the attached Notice to Defendant Being
14   Released and file it with the Court before his release. All conditions set forth in that notice
15   are hereby ordered.
16
            IT IS SO ORDERED.
17
18   Dated: May 20, 2024
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